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                    1   FENNEMORE CRAIG, P.C.
                        Anthony W. Austin (No. 025351)
                    2   Philip L. Brailsford (No. 032074)
                        2394 East Camelback Road, Suite 600
                    3   Phoenix, AZ 85016-3429
                        Telephone: (602) 916-5000
                    4   Email: aaustin@fclaw.com
                        Email: pbrailsford@fclaw.com
                    5
                        Attorneys for Plaintiff
                    6   HIP Lending Group, LLC
                    7                                UNITED STATES DISTRICT COURT
                    8                                      DISTRICT OF ARIZONA
                    9   HIP Lending Group, LLC, an Arizona                No:
                        limited liability company,
                  10                                                      VERIFIED COMPLAINT
                                            Plaintiff,
                  11
                                   v.
                  12
                        Goalz Restaurant Group, LLC, a Wyoming
                  13    limited liability company; Goalz CD Pooler
                        GA, LLC, a Wyoming limited liability
                  14    company; Goalz Dairy Denver NC, LLC,
                        formerly known as Goalz DQ Denver NC,
                  15    LLC, a Wyoming limited liability company;
                        Goalz Dairy Ft Pierce FL, LLC, a Florida
                  16    limited liability company; Goalz DH Springs
                        CO, LLC, a Wyoming limited liability
                  17    company; Goalz DH Georgetown KY 111,
                        LLC, a Wyoming limited liability company;
                  18    Goalz DH IL 107, LLC, an Illinois limited
                        liability company; Goalz DH IL 109, LLC,
                  19    an Illinois limited liability company; Goalz
                        DH Slidell LA 112, LLC, a Wyoming
                  20    limited liability company; Goalz Restaurant
                        Group COWY, LLC, a Wyoming limited
                  21    liability company; Goalz Restaurant Group
                        FLA, LLC, a Wyoming limited liability
                  22    company; Goalz Restaurant Group KTY,
                        LLC, a Wyoming limited liability company;
                  23    Goalz Restaurant Group NCSC, LLC, a
                        Wyoming limited liability company; and
                  24    Shawn Eby, a Wyoming resident,
                  25                           Defendants.
                  26
                  27               Plaintiff HIP Lending Group, LLC (“Plaintiff”) for its Verified Complaint alleges
                  28    the following:
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                    1                            PARTIES, JURISDICTION AND VENUE
                    2              1.    Plaintiff is an Arizona limited liability company with a principal place of
                    3   business at 2999 North 44th Street, Suite 400, Phoenix, Arizona 85018.
                    4              2.    Defendant Goalz Restaurant Group, LLC, is a Wyoming limited liability
                    5   company with a principal place of business at 9432 Aspen Pointe Lane, Cheyenne,
                    6   Wyoming 82009.
                    7              3.    Defendant Goalz CD Pooler GA, LLC, is a Wyoming limited liability
                    8   company with a principal place of business at 9432 Aspen Pointe Lane, Cheyenne,
                    9   Wyoming 82009.
                  10               4.    Defendant Goalz Dairy Denver NC, LLC, formerly known as Goalz DQ
                  11    Denver NC, LLC, is a Wyoming limited liability company with a principal place of business
                  12    at 9432 Aspen Pointe Lane, Cheyenne, Wyoming 82009.
                  13               5.    Defendant Goalz Dairy Ft Pierce FL, LLC, is a Florida limited liability
                  14    company with a principal place of business at 2716 U.S. Highway 1, Fort Pierce, Florida
                  15    34982.
                  16               6.    Defendant Goalz DH Springs CO, LLC, is a Wyoming limited liability
                  17    company with a principal place of business at 9432 Aspen Pointe Lane, Cheyenne,
                  18    Wyoming 82009.
                  19               7.    Defendant Goalz DH Georgetown KY 111, LLC, is a Wyoming limited
                  20    liability company with a principal place of business at 9432 Aspen Pointe Lane, Cheyenne,
                  21    Wyoming 82009.
                  22               8.    Defendant Goalz DH IL 107, LLC, is an Illinois limited liability company
                  23    with a principal place of business at 9432 Aspen Pointe Lane, Cheyenne, Wyoming 82009.
                  24               9.    Defendant Goalz DH IL 109, LLC, is an Illinois limited liability company
                  25    with a principal place of business at 9432 Aspen Pointe Lane, Cheyenne, Wyoming 82009.
                  26               10.   Defendant Goalz DH Slidell LA 112, LLC, is a Wyoming limited liability
                  27    company with a principal place of business at 9432 Aspen Pointe Lane, Cheyenne,
                  28    Wyoming 82009.
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                    1              11.   Defendant Goalz Restaurant Group COWY, LLC, is a Wyoming limited
                    2   liability company with a principal place of business at 9432 Aspen Pointe Lane, Cheyenne,
                    3   Wyoming 82009.
                    4              12.   Defendant Goalz Restaurant Group FLA, LLC, is a Wyoming limited liability
                    5   company with a principal place of business at 9432 Aspen Pointe Lane, Cheyenne,
                    6   Wyoming 82009.
                    7              13.   Defendant Goalz Restaurant Group KTY, LLC, is a Wyoming limited
                    8   liability company with a principal place of business at 9432 Aspen Pointe Lane, Cheyenne,
                    9   Wyoming 82009.
                  10               14.   Defendant Goalz Restaurant Group NCSC, LLC, is a Wyoming limited
                  11    liability company with a principal place of business at 9432 Aspen Pointe Lane, Cheyenne,
                  12    Wyoming 82009.
                  13               15.   Defendant Shawn Eby is a Wyoming resident.
                  14               16.   Each and every Defendant is collectively referred to as “Defendants.”
                  15                                    JURISDICTION AND VENUE
                  16               17.   This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a).
                  17    This is an action between citizens of different states, and the amount in controversy exceeds
                  18    $75,000.00, exclusive of interest and costs.
                  19               18.   Venue is proper in this Court because Plaintiff is a resident of this District and
                  20    Defendants are subject to personal jurisdiction in this District, having caused (1) a
                  21    substantial portion of the events or omissions giving rise to the claims in this action to occur
                  22    in this District, and (2) the harm resulting from Defendants’ actions to impact Plaintiff in
                  23    this District. 28 U.S.C. § 1391(a). Additionally, all parties consented to venue in Arizona.
                  24    No more suitable venue exists.
                  25                                     GENERAL ALLEGATIONS
                  26    A.         Corporate Structure
                  27               19.   Defendants are part of a corporate family of entities that operate quick service
                  28    restaurants in Wyoming, Colorado, Illinois, Kentucky, Florida, Georgia, North Carolina,
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                    1   South Carolina, and Louisiana. These restaurants are operated pursuant to franchise
                    2   agreements with Dog Haus, Church’s Chicken, Dairy Queen, and Captain D’s.
                    3              20.   In general, Goalz Restaurant Group, LLC (“GRG”) owns membership
                    4   interests in all of the remaining Defendants either directly or indirectly. A true and correct
                    5   copy, as provided to Plaintiff, of the corporate structure of Defendants as of February 25,
                    6   2020 is attached hereto as Exhibit A.
                    7              21.   GRG operates as the management company for the remaining Defendants in
                    8   the operation of the respective quick service restaurant owned by the particular Defendant.
                    9              22.   In addition to Defendants, GRG holds majority membership interests in the
                  10    following entities:
                  11                     a.    DH Cheyenne WY, LLC
                  12                     b.    CD Lincolnton NC, LLC
                  13                     c.    CD Lancaster SC, LLC
                  14                     d.    CD Shelbyville KY, LLC
                  15                     e.    Dairy Commerce City CO, LLC
                  16                     f.    Dairy Fed Highway FL, LLC
                  17                     g.    Dairy Traditions FL, LLC
                  18               23.   Through its wholly owned holding company GRG COWY, LLC, GRG holds
                  19    a majority membership interest in CC Cheyenne WY, LLC.
                  20               24.   Through its wholly owned holding company GRG FLA, LLC, GRG holds
                  21    majority membership interests in CC Apopka FL, LLC and CC Melbourne FL, LLC.
                  22               25.   GRG KTY, LLC doing business as CC Dixie Hwy is a wholly owned
                  23    subsidiary of GRG.
                  24               26.   GRG NCSC, LLC doing business as CC Huntsville AL is a wholly owned
                  25    subsidiary of GRG.
                  26               27.   Through its wholly owned holding company GRG NCSC LLC, GRG holds
                  27    majority membership interests in:
                  28                     a.    CC Lincolnton NC, LLC
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                    1                    b.     CC Lancaster SC, LLC
                    2   (collectively, these entities are referred to as the “Subsidiary LLCs”).
                    3              28.   Shawn Eby is the Chief Executive Officer for each of Defendants.
                    4   B.         Plaintiff’s Loans to Defendants
                    5              29.   In September 2018, Defendants and Plaintiff entered into a loan agreement
                    6   through which Plaintiff agreed to, and did, loan $800,000 through multiple advances. A
                    7   true and correct copy of the Loan, Guaranty and Security Agreement dated September 4,
                    8   2018 is attached hereto as Exhibit B (the “Loan Agreement”).
                    9              30.   In connection with the Loan Agreement, Defendants granted a security
                  10    interest in the following assets whether then owned or subsequently acquired or created:
                  11                     All Accounts, Chattel Paper, Goods (including all Inventory,
                                         Equipment and Fixtures), Documents, Instruments, General
                  12                     Intangibles (including Payment Intangibles), Investment
                                         Property, Letter-of-Credit Rights, Supporting Obligations,
                  13                     Commercial Tort Claims, Other Property, and Borrower’s
                                         limited liability membership interests in its Subsidiaries; all
                  14                     Proceeds and products of all of the foregoing (including
                                         Proceeds of any insurance policies and claims against third
                  15                     parties for loss or any destruction of any of the foregoing); and
                                         all Records relating to any of the foregoing.
                  16
                  17    (the foregoing assets are collectively referred to as the “Collateral”). See Section 5.1 of the
                  18    Loan Agreement.
                  19               31.   Plaintiff perfected its security interest in the Collateral by filing UCC-1
                  20    Financing Statements in the respective states. True and correct copies of the UCC-1
                  21    Financing Statements are attached hereto as Exhibit C.
                  22               32.   The Subsidiary LLCs guaranteed the obligations under the Loan Agreement
                  23    and agreed that each is “jointly and severally liable for, and absolutely and unconditionally
                  24    guarantees to Lender the prompt payment and performance of, all Obligations.” See Section
                  25    12.1. of the Loan Agreement.
                  26               33.   In March 2019, Defendants required additional capital and the Loan
                  27    Agreement was amended to provide for an additional $1,000,000.00, which was funded by
                  28    Plaintiff. A true and correct copy of the Amended and Restated Loan, Guaranty and
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                    1   Security Agreement dated March 19, 2019 is attached hereto as Exhibit D (the “Amended
                    2   Loan Agreement”).
                    3              34.   In connection with the Amended Loan Agreement, Defendants granted a
                    4   security in the Collateral, which was perfected by Plaintiff through the filing of UCC-1
                    5   Financing Statements. See Ex. C.
                    6              35.   As with the Loan Agreement, each Subsidiary LLC unconditionally
                    7   guaranteed the amounts borrowed. See Section 12.1 of the Amended Loan Agreement.
                    8              36.   One month later, additional funds were required by Defendants and the parties
                    9   entered into the Second Amended and Restated Loan, Guaranty and Security Agreement,
                  10    which increased the amount borrowed (and actually loaned) to $3,000,000.00. A true and
                  11    correct copy of the Second Amended and Restated Loan, Guaranty and Security Agreement
                  12    dated April 29, 2019 is attached hereto as Exhibit E (the “Second Amended Loan
                  13    Agreement”).
                  14               37.   In connection with the Second Amended Loan Agreement, Defendants
                  15    granted a security in the Collateral, which was perfected by Plaintiff through the filing of
                  16    UCC-1 Financing Statements. See Ex. C.
                  17               38.   As with the Loan Agreement and Amended Loan Agreement, each Subsidiary
                  18    LLC unconditionally guaranteed the amounts borrowed. See Section 12.1 of the Second
                  19    Amended Loan Agreement. Additionally, as GRG created new Subsidiaries (defined as
                  20    those entities which GRG held 51% or more of the membership interests), those entities
                  21    became guarantors under the Second Amended Loan Agreement. See Section 8.2 of the
                  22    Second Amended Loan Agreement.
                  23               39.   Defendant Eby also unconditionally guaranteed the amounts borrowed. See
                  24    Shawn Eby’s Continuing Guaranty attached hereto as Exhibit F.
                  25               40.   The Second Amended Loan Agreement was to be repaid through thirty-six
                  26    (36) monthly payments of accrued interest and principal beginning on January 1,
                  27    2020. Each monthly payment was due on the first of each month until paid in full. The
                  28    entire principal balance of the loan was due with all interest, fees, and other charges on
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                    1   January 1, 2023, if not otherwise accelerated.
                    2              41.   Interest accrues on the principal balance at the rate of fifteen percent. After
                    3   an event of default, interest accrues at the default rate of twenty-five percent.
                    4   C.         Defendants’ Operations Struggle
                    5              42.   As hinted at above, Defendants have consistently had cash flow issues that
                    6   have hampered their operations and ability to repay obligations – including Plaintiff’s loan.
                    7              43.   Despite the $3,000,000.00 loan to Defendants, the operations of Defendants
                    8   have consistently lost money to the point that Defendants have struggled to make payroll
                    9   without additional advances from Plaintiff.
                  10               44.   Subsequent to the Second Amended Loan Agreement, Plaintiff made these
                  11    additional loans to Defendants.
                  12               45.   In August 2019, GRG caused GRG NCSC, LLC d/b/a CC Huntsville AL to
                  13    cease operations and close down the Church’s Chicken that it had been operating without
                  14    notice or consent of the franchisor. GRG was able to avoid a complete termination of the
                  15    franchise agreement by entering into a promissory note in the amount of $283,093.00 for
                  16    the damages suffered by the franchisor. A true and correct copy of the promissory note is
                  17    attached hereto as Exhibit G. The note provides that any default thereunder is a default
                  18    upon all franchise agreements with the franchisor. Id. at ¶ 6. In early March 2020, GRG
                  19    and GRG NCSC, LLC failed to make the requisite payments and a notice of default was
                  20    sent. A true and correct copy of the notice is attached hereto as Exhibit H.
                  21               46.   On March 5, 2020, in addition to the financial defaults, Defendants received
                  22    two notices of default for failure to abide by the operational terms of the franchise
                  23    agreement with Church’s Chicken. True and correct copies of the notices are attached
                  24    hereto as Exhibit I. As noted above, these violations threaten the franchise agreements for
                  25    all Defendants who operate under the Church’s Chicken flag.
                  26               47.   As of February 2020, Defendants had outstanding payables (not including
                  27    payments to Plaintiff) in excess of $1,000,000.00.
                  28               48.   Despite these struggles and serious cash flow issues, Defendants have, at Mr.
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                    1   Eby’s direction, prioritized the payment of Mr. Eby’s salary over other creditors – including
                    2   rent, utilities, and payroll. True and correct copies of correspondence from Mr. Eby are
                    3   attached hereto as Exhibit J.
                    4              49.   Further in February 2020, Defendants, at Mr. Eby’s direction, increased Mr.
                    5   Eby’s wife’s salary from $50,000 to $75,000 despite consistent shortfalls in making payroll
                    6   and payment of other expenses.
                    7              50.   At that same time, Defendants also increased the pay of Defendants’
                    8   marketing person from $50,000 to $65,000 with no explanation.
                    9              51.   Plaintiff is further informed that in early March 2020, Defendants have
                  10    received disconnect notices from various utilities for non-payment.                    See email
                  11    correspondence between Mr. Eby and Ms. Hartrick dated March 9, 2020, a true and correct
                  12    copy of which is attached hereto as Exhibit K.
                  13               52.   Additionally, Defendants have received notices of default from landlords of
                  14    various stores with the threat of lockouts being instituted if payment is not received. True
                  15    and correct copies of the notices are attached hereto as Exhibit L.
                  16    D.         Goalz Default
                  17               53.   In addition to the financial and managerial issues discussed above,
                  18    Defendants have failed to make any payment to Plaintiff as required under the Second
                  19    Amended Loan Agreement.
                  20               54.   On March 2, 2020, Plaintiff hand delivered a notice of default and opportunity
                  21    to cure to Mr. Eby as required by the Second Amended Loan Agreement. A true and correct
                  22    copy of the notice is attached hereto as Exhibit M. Defendants had five days to cure the
                  23    defaults set forth therein or an event of default will have been deemed to occur.
                  24               55.   Upon an event of default, Plaintiff is entitled to exercise a variety of remedies,
                  25    including acceleration, imposition of default interest rate, and foreclosure. Defendants have
                  26    also agreed that Plaintiff “may, in its discretion, petition for and obtain the appointment of
                  27    a receiver to take possession of any or all of the Collateral and to operate any Obligor’s
                  28    business and to exercise such rights and powers as the court appointing such receiver shall
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                    1   confer upon such receiver . . . .” See Exhibit E Section 9.2.
                    2              56.   Despite the notice and opportunity to cure, Defendants failed to cure, or make
                    3   any arrangements to cure, the defaults under the Second Amended Loan Agreement.
                    4              57.   On March 10, 2020, Plaintiff delivered its notice of acceleration and demand
                    5   for payment of the amounts due under the Second Amended Loan Agreement. See
                    6   Plaintiff’s Notice, a true and correct copy of which is attached hereto as Exhibit N. As of
                    7   March 9, 2020, Defendants were obligated to Plaintiff in the amount of $3,377,869.48,
                    8   which represents outstanding principal and accrued interest. In addition to these amounts,
                    9   Plaintiff is entitled to its attorneys’ fees and costs.
                  10               58.   Given the deteriorating nature of Defendants’ financial situation, the
                  11    threatened termination of the franchise agreements, and potential lockouts by landlords, a
                  12    receiver is necessary to protect Plaintiff’s collateral from further deterioration.
                  13                                     FIRST CAUSE OF ACTION
                  14                                         (Breach of Contract)
                  15               59.   Plaintiff repeats and realleges the foregoing allegations as if set forth fully
                  16    herein.
                  17               60.   The Second Amended Loan Agreement is binding contracts between Plaintiff
                  18    and Defendants.
                  19               61.   Plaintiff has met all duties and obligations owed to Defendants under the
                  20    parties’ contracts.
                  21               62.   Defendants breached the Second Amended Loan Agreement by, among other
                  22    things, failing to make payments due and owning under the Second Amended Loan
                  23    Agreement.
                  24               63.   Defendants’ actions further breached the duty of good faith and fair dealing
                  25    owed to Plaintiff by denying Plaintiff the benefits it expected to earn from the Second
                  26    Amended Loan Agreement.
                  27               64.   Defendants’ breach of the Second Amended Loan Agreement and breach of
                  28    the duty of good faith and fair dealing directly and proximately damaged Plaintiff in an
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                    1   amount to be proven at trial.
                    2              65.   Defendants are directly liable to Plaintiff for its damages.
                    3              66.   The amounts due and owing under the Second Amended Loan Agreement are
                    4   just, true and owing. There are no set-offs or defenses to the amounts owing under the
                    5   Second Amended Loan Agreement.
                    6              67.   These past and future payments are a liquidated amount; therefore, Plaintiff
                    7   is entitled to pre-judgment interest.
                    8              68.   Plaintiff is entitled to recover its attorneys’ fees in bringing this action
                    9   pursuant to the Second Amended Loan Agreement, A.R.S. §§ 12-341 and 12-341.01, and
                  10    other applicable law.
                  11                                    SECOND CAUSE OF ACTION
                  12                                          (Unjust Enrichment)
                  13               69.   Plaintiff repeats and realleges the foregoing allegations as if set forth fully
                  14    herein.
                  15               70.   Defendants have received funds from Plaintiff as evidenced by the Second
                  16    Amended Loan Agreement and agreed to repay the loans pursuant to the terms of the
                  17    Second Amended Loan Agreement.
                  18               71.   Defendants have failed to repay the amounts borrowed.
                  19               72.   Plaintiff has conferred a benefit on Defendants by providing the loaned funds
                  20    to Defendants, which Defendants have not repaid, and in conferring that benefit, Plaintiff
                  21    has suffered an impoverishment.
                  22               73.   Defendants have been unjustly enriched and have failed to compensate
                  23    Plaintiff for the conferral of its benefit to Defendants.
                  24               74.   Plaintiff has suffered damages in an amount not less than $3,377,869.48 plus
                  25    accrued and accruing late fees and interest due at the Default Rate from March 9, 2020,
                  26    until the date of judgment and thereafter until paid in full.
                  27               75.   Plaintiff is entitled to recover its attorneys’ fees in bringing this action
                  28    pursuant to the Second Amended Loan Agreement, A.R.S. §§ 12-341 and 12-341.01, and
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                    1   other applicable law.
                    2                                    THIRD CAUSE OF ACTION
                    3                    (Breach of Implied Covenant of Good Faith and Fair Dealing)
                    4              76.    Plaintiff repeats and realleges the foregoing allegations as if set forth fully
                    5   herein.
                    6              77.    The Second Amended Loan Agreement between Plaintiff and Defendants are
                    7   valid and binding contracts, and Plaintiff has complied with all material provisions therein.
                    8              78.    Arizona law implies a covenant of good faith and fair dealing in every
                    9   contract.
                  10               79.    Defendants have breached the implied covenant of good faith and fair dealing
                  11    by, among other things, refusing to pay the amounts due under the Second Amended Loan
                  12    Agreement.
                  13               80.    As a direct and proximate result of Defendants’ breach of the implied
                  14    covenant of good faith and fair dealing, Plaintiff has been damaged in an amount not less
                  15    than $3,377,869.48 plus accrued and accruing late fees and interest due at the Default Rate
                  16    from March 9, 2020, until the date of judgment and thereafter until paid in full.
                  17               81.    Plaintiff is entitled to recover its attorneys’ fees in bringing this action
                  18    pursuant to the Second Amended Loan Agreement, A.R.S. §§ 12-341 and 12-341.01, and
                  19    other applicable law.
                  20                                    FOURTH CAUSE OF ACTION
                  21                                          (Breach of Guaranty)
                  22               82.    Plaintiff repeats and realleges the foregoing allegations as if set forth fully
                  23    herein.
                  24               83.    The Second Amended Loan Agreement is a contract between Plaintiff and
                  25    Defendants.
                  26               84.    Plaintiff has fulfilled all duties owed to Defendants under the parties’ Second
                  27    Amended Loan Agreement.
                  28               85.    Defendants breached the Second Amended Loan Agreement by failing to
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                    1   meet the obligations owed to Plaintiff under the Second Amended Loan Agreement.
                    2              86.   Defendants further breached the duty of good faith and fair dealing owed to
                    3   Plaintiff by denying Plaintiff the benefits it expected to receive under the Second Amended
                    4   Loan Agreement.
                    5              87.   Defendants’ breach of the Second Amended Loan Agreement and breach of
                    6   the duty of good faith and fair dealing directly and proximately damaged Plaintiff in an
                    7   amount to be proven at trial.
                    8              88.   Defendants are directly liable to Plaintiff for its damages.
                    9              89.   The debts owing under the Second Amended Loan Agreement are just, true
                  10    and owing. There are no set-offs or defenses to the amounts owing under the Second
                  11    Amended Loan Agreement.
                  12               90.   These past and future amounts owed are a liquidated amount; therefore,
                  13    Plaintiff is entitled to pre-judgment interest.
                  14               91.   Plaintiff is entitled to recover its attorneys’ fees in bringing this action
                  15    pursuant to the Second Amended Loan Agreement, A.R.S. §§ 12-341 and 12-341.01, and
                  16    other applicable law.
                  17                                        PRAYER FOR RELIEF
                  18               WHEREFORE, Plaintiff respectfully requests that the Court enter judgment against
                  19    Defendants in favor of Plaintiff as follows:
                  20               A.    Awarding compensatory damages against Defendants in an amount not less
                  21                     than $3,377,869.48, of March 9, 2020, plus accrued and accruing late fees and
                  22                     interest due at the Default Rate from March 9, 2020, until the date of judgment
                  23                     and thereafter until paid in full;
                  24               B.    Awarding taxable costs pursuant to A.R.S. § 12-341;
                  25               C.    Awarding reasonable attorneys’ fees, pursuant to A.R.S. ¶ 12-341.01; and
                  26               D.    Granting such additional relief as the Court deems just and proper.
                  27
                  28
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                    1              DATED this 16th day of March, 2020.
                    2                                                    FENNEMORE CRAIG, P.C.
                    3
                    4                                                    By s/ Anthony W. Austin
                                                                           Anthony W. Austin
                    5                                                      Philip L. Brailsford
                                                                           Attorneys for Plaintiff
                    6                                                      HIP Lending Group, LLC
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